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                                 UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION




Gilbert Sanchez
                                                     Plaintiff,
v.                                                                        Case No.: 4:19−cv−00110
                                                                          Chief Judge Lee H Rosenthal
Enterprise Offshore Drilling LLC, et al.
                                                     Defendant.



                                           Official Transcript Filed

An official transcript has been filed. It may contain information protected from public disclosure by law.
See E−Government Act of 2002, Fed. R. Civ. P. 5.2(a) or Fed. R. Crim. P. 49.1(a).

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                                             David J. Bradley, Clerk
